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                                                            USDC SDNY
                                                            DOCUMENT
UNITED STATES DISTRICT COURT
                                                            ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                               DOC #:
                                                            DATE FILED: 3/1/2022
 MARTIN NICHOLAS JOHN TROTT
 and CHRISTOPHER JAMES SMITH,
 on behalf of and solely in their capacity
 as the Foreign Representatives and Joint
 Official Liquidators of MADISON                      Case No.: 1:20-cv-10299-MKV
 ASSET LLC (IN LIQUIDATION),

                               Plaintiffs,

                -against-

 DEUTSCHE BANK AG,

                               Defendant.



       MOTION TO FILE REDACTED OPPOSITION TO MOTION TO DISMISS

       Martin Nicholas John Trott and Christopher James Smith (“Plaintiffs” or “JOLs”), as the

Foreign Representatives and Joint Official Liquidators of Madison Asset LLC (“Madison”), a

Cayman investment fund that is now in official liquidation proceedings before the Grand Court of

the Cayman Islands, submit this motion for entry of an order that the Plaintiffs’ Opposition

(“Opposition”) to Defendant Deutsche Bank AG’s (“Defendant”) Motion to Dismiss (“MTD”) be

filed in redacted form. This motion is made pursuant to Section 6 of the SDNY Electronic Case

Filing Rules and Instructions, Rule 9 of this Court’s Individual Rules of Practice in Civil Cases,

SDNY Standing Order 19-mc-0583, and the Stipulated Confidentiality Agreement and Protective

Order (ECF No. 34).

                                        BACKGROUND

       Pursuant to the Court’s Order dated July 1, 2021 (ECF No. 42), Plaintiffs must file their

Opposition today. This case was initially filed as an adversary proceeding in the United States
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Bankruptcy Court for the Southern District of New York, relating to the Chapter 15 proceeding

for Madison overseen by Judge Michael E. Wiles. Plaintiffs filed their original Complaint in

redacted form based on Defendant’s assertion that certain information, which Defendant had

provided the JOLs during bankruptcy proceedings, was protected by a confidentiality agreement

between the parties. After a telephonic hearing with the parties about the permissible scope of

redactions, Judge Wiles orally specified the information to be redacted and memorialized that

directive in a written order dated November 19, 2020 (Bankruptcy Court ECF No. 15). That order

is attached hereto as Exhibit A. Plaintiffs subsequently filed a version of their Second Amended

Complaint (ECF No. 36) that was again redacted pursuant to Judge Wiles’ order and the Stipulated

Confidentiality Agreement and Protective Order entered by this Court (ECF No. 34).

       The information that Plaintiffs seek to redact in the Opposition was also redacted with the

approval of this Court in Plaintiffs’ Second Amended Complaint.

                                     REQUESTED RELIEF

       Plaintiffs are prepared to file in this Court the Opposition pursuant to Rule 15 of the Federal

Rules of Civil Procedure and this Court’s July 1, 2021 Order (ECF No. 42). Plaintiffs move to file

the Opposition in redacted form that complies with Judge Wiles’ Order and instructions and the

Stipulated Confidentiality Agreement and Protective Order entered by this Court.




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Dated: New York, New York
       August 30, 2021


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                  3/1/2022




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